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56729-0014

Attorneys for Defendants CoreBrace, LLC, and SME Industries, Inc.

                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


MAURICE JOHN,
                                                 Civil No. 4:20-CV-00071-BLW
Plaintiff,
                                                 STIPULATION FOR ENTRY OF
vs.                                              PROTECTIVE ORDER
CORE BRACE, LLC, a Utah limited liability
company, and SME INDUSTRIES, INC., a
Nevada corporation, d/b/a CORE BRACE,

Defendants.




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       COME NOW Plaintiff, Maurice John, and Defendants, CoreBrace, LLC, and SME

Industries, Inc. (“Defendants”), through their respective attorneys, and hereby stipulate and agree

to the entry of a Protective Order pursuant to Fed. R. Civ. P. 26(c).

       WHEREAS, some of the parties to this suit have taken the position that the documents

which must be disclosed pursuant to Fed. R. Civ. P. 26(a)(1) and that will be produced in

discovery may constitute confidential and/or sensitive information; and

       WHEREAS, the parties to this suit agree that the confidentiality of certain documents

furnished must be protected;

       NOW THEREFORE,             IT   IS   HEREBY STIPULATED AND                 AGREED,        the

aforementioned parties agree that the initial disclosures and discovery productions shall be

subject to the following limitations and that the Court may enter an order as follows:

       IT IS HEREBY ORDERED AS FOLLOWS:

       1.      The purpose of this Protective Order is to protect against the unnecessary

disclosure of confidential information.

       2.      Documents and information protected by this Order shall include: (1) documents

relating to current and former employees of Defendants not a party to this action that the

producing party reasonably believes to be confidential in nature, including documents that

contain personnel or other information that a reasonable person would believe to be private in

nature; (2) confidential and proprietary information relating to the business of Defendants,

including but not limited to nonpublic confidential technical, commercial, financial, or business

information, such as CoreBrace’s product and manufacturing process; and (3) personal financial,

medical, or other sensitive information relating to Plaintiff (“Confidential Materials” and marked

with the word “Confidential”).




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       3.      As used herein, “disclosure” or “to disclose” shall mean to divulge, reveal,

describe, summarize, paraphrase, quote, transmit, or otherwise communicate Confidential

Materials, and the restrictions contained herein regarding disclosure of Confidential Materials

shall also apply with equal force to any copies, excerpts, analyses, or summaries of such

materials or the information contained therein, as well as to any pleadings, briefs, exhibits,

transcripts, or other documents which may be prepared in connection with this litigation which

contain or refer to the Confidential Materials or information contained therein.

       4.      Use of any information or documents labeled “Confidential” and subject to this

Protective Order, including all information derived therefrom, shall be restricted solely to the

litigation of this case and shall not be used by any party for any business, commercial, or

competitive purpose. This Protective Order, however, does not restrict the disclosure or use of

any information or documents lawfully obtained by the receiving party through means or sources

outside of this litigation. Should a dispute arise as to any specific information or document, the

burden shall be on the party claiming that such information or document was lawfully obtained

through means and sources outside of this litigation.

       5.      The parties, and third parties subpoenaed by one of the parties, may designate as

“Confidential” documents, testimony, written responses, or other materials produced in this case

if they contain information that the producing party has a good faith basis for asserting is

confidential under the applicable legal standards. The party shall designate each page of the

document with a stamp identifying it as “Confidential,” if practical to do so.

       6.      Deposition testimony will be deemed confidential only if designated as such when

the deposition is taken or within a reasonable time period after receipt of the deposition




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transcript. Such designation must be specific as to the portions of the transcript and/or any

exhibits to be protected.

       7.      Upon the written request of the producing party or third party, within 30 days

after the entry of a final judgment no longer subject to appeal on the merits of this case, or the

execution of any agreement between the parties to resolve amicably and settle this case, the

parties and any person authorized by this Protective Order to receive confidential information

shall return to the producing party or third party, or destroy, all information and documents

subject to this Protective Order. Returned materials shall be delivered in sealed envelopes

marked “Confidential” to respective counsel. The party requesting the return of materials shall

pay the reasonable costs of responding to its request.

       8.      In the event a party seeks to file any confidential information subject to protection

under this Order with the court, that party must take appropriate action to ensure that the

document receives proper protection from public disclosure including: (a) filing a redacted

document with the consent of the party who designated the document as confidential; (b) where

appropriate (e.g., in relation to discovery and evidentiary motions), submitting the document

solely for in camera review; or (c) when the preceding measures are inadequate, seeking

permission to file the document under seal by filing a motion for leave to file under seal in

accordance with Dist. Idaho Loc. Civ. R. 5.3.

       Nothing in this Order will be construed as a prior directive to allow any document to be

filed under seal. The parties understand that the requested documents may be filed under seal

only with the permission of the Court after proper motion. If the motion is granted and the

requesting party permitted to file the requested documents under seal, only counsel of record and

unrepresented parties will have access to the sealed documents.




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       9.      Use of any information, documents, or portions of documents marked

“Confidential,” including all information derived therefrom, shall be restricted solely to the

following persons, who agree to be bound by the terms of this Protective Order, unless additional

persons are stipulated by counsel or authorized by the Court:

               a.     Outside counsel of record for the parties, and the
                      administrative staff of outside counsel's firms.

               b.     In-house counsel for the parties, and the administrative
                      staff for each in-house counsel.

               c.     Any party to this action who is an individual, and every
                      employee, director, officer, or manager of any party to this
                      action who is not an individual, but only to the extent
                      necessary to further the interest of the parties in this
                      litigation.

               d.     Independent consultants or expert witnesses (including
                      partners, and employees of the firm which employs such
                      consultant or expert) retained by a party or its attorneys for
                      purposes of this litigation, but only to the extent necessary
                      to further the interest of the parties in this litigation.

               e.     The Court and its personnel, including, but not limited to,
                      stenographic reporters regularly employed by the Court and
                      stenographic reporters not regularly employed by the Court
                      who are engaged by the Court or the parties during the
                      litigation of this action.

               f.     The authors and the original recipients of the documents.

               g.     Any court reporter or videographer reporting a deposition.

               h.     Employees of copy services, microfilming or database
                      services, trial support firms and/or translators who are
                      engaged by the parties during the litigation of this action.

               i.     Interviewees, potential witnesses, deponents, hearing or
                      trial witnesses, and any other person, where counsel for a
                      party to this action in good faith determines the individual
                      should be provided access to such information in order for
                      counsel to more effectively prosecute or defend this action
                      (as long as the disclosure occurs in the presence of counsel,




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                       and copies, duplicates, images, or the like are not removed
                       or retained by any interviewee, potential witness, deponent,
                       or hearing or trial witness), provided, however, that in all
                       such cases the individual to whom disclosure is to be made
                       has been informed that the information contained in the
                       disclosed document(s) is confidential and protected by
                       Court Order, that the individual understands that he/she is
                       prohibited from disclosing any information contained in the
                       document(s) to anyone.

               j.      Any other person agreed to in writing by the parties.

         10.   Nothing in this Order shall bar or otherwise restrict any attorney for any party

from rendering advice to his or her client with respect to this case or from doing anything

necessary to prosecute or defend this case and furthering the interests of his or her client, except

the disclosure of the Confidential Materials as proscribed in this Order.

         11.    Prior to being shown any documents produced by another party marked

“Confidential,” any person listed under paragraph 9(c), 9(i), or 9(j) shall be advised that the

confidential information is being disclosed pursuant to and subject to the terms of this Protective

Order.

         12.    Whenever information designated as “Confidential” pursuant to this Protective

Order is to be discussed by a party or disclosed in a deposition, hearing, or pretrial proceeding,

the designating party may exclude from the room any person, other than persons designated in

paragraph 9, as appropriate, for that portion of the deposition, hearing or pretrial proceeding.

         13.    The parties or anyone acting on their behalf may not voluntarily disclose any

Confidential Materials to any state or federal law enforcement or regulatory agency, or any

employee thereof, except in this litigation as set forth in paragraph 8 or as otherwise commanded

by law or provided in this Order.

         14.    Each party reserves the right to dispute the confidential status claimed by any

other party or subpoenaed party in accordance with this Protective Order. If a party believes that


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any documents or materials have been inappropriately designated by another party or subpoenaed

party, that party shall confer with counsel for the designating party. As part of that conferral, the

designating party must assess whether redaction is a viable alternative to complete non-disclosure.

If the parties are unable to resolve the matter informally, a party may file an appropriate motion

before the Court requesting that the Court determine whether the Protective Order covers the

document in dispute. Regardless of which party files the motion, the party seeking to protect a

document from disclosure bears the burden of establishing good cause for why the document

should not be disclosed.      A party who disagrees with another party’s designation must

nevertheless abide by that designation until the matter is resolved by agreement of the parties or

by order of the Court.

       15.      The parties agree that claims of privilege or any assertion of waiver of a claim of

privilege shall be governed pursuant to the terms of Rule 502 of the Federal Rules of Evidence,

that any inadvertent disclosure of privileged information or materials shall not be deemed a

waiver of privilege, that any privilege or protection is not waived by disclosure connected with

this litigation, and any such disclosure in this litigation is also not a waiver in any other federal

or state proceeding.

       16.     This Order does not limit the right of any party to object to the scope of discovery

in the above-captioned action.

       17.     This Order does not constitute a determination of the admissibility or evidentiary

foundation for the documents or a waiver of any party’s objections thereto.

       18.     Designation by either party of information or documents as “Confidential,” or

failure to so designate, will not constitute an admission that information or documents are or are

not confidential or trade secrets. Neither party may introduce into evidence in any proceeding




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between the parties, other than a motion to determine whether the Protective Order covers the

information or documents in dispute, the fact that the other party designated or failed to

designate information or documents as “Confidential.”

       19.     Nothing in this Protective Order shall prejudice any party from seeking

amendments to expand or restrict the rights of access to and use of confidential information, or

other modifications, subject to order by the Court.

       20.     Nothing shall prevent disclosure beyond the terms of this Order if all parties

consent to such disclosure, or if the Court, after notice to all affected parties, permits such

disclosure. Specifically, if and to the extent any party wishes to disclose any Confidential

Materials beyond the terms of this Order, that party shall provide all other parties with

reasonable notice in writing of its request to so disclose the materials. If the parties cannot

resolve their disagreement with respect to the disclosure of any Confidential Materials, then a

party may petition the Court for a determination of these issues. In addition, any interested

member of the public may also challenge the designation of any material as confidential,

pursuant to the terms of this paragraph.

       21.     The restrictions on disclosure and use of confidential information shall survive the

conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion

for the purpose of enforcing the terms of this Protective Order.

       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

               DATED this 25th day of September, 2020.

                                                      HAWLEY TROXELL ENNIS & HAWLEY LLP



                                                      By /s/
                                                      Jetta Hatch Mathews – Of the Firm




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                                            Attorneys for Defendants CoreBrace, LLC,
                                            and SME Industries, Inc.

          DATED this 29th day of September, 2020.

                                            CASPERSON ULRICH DUSTIN, PLLC



                                            By /s/
                                            Amanda E. Ulrich, Esq.
                                            Attorneys for Plaintiff




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                              CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on the 29th day of September, 2020, I filed the
foregoing STIPULATION FOR ENTRY OF PROTECTIVE ORDER electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

David P. Gardner
Jetta Hatch Mathews
HAWLEY TROXELL ENNIS
       & HAWLEY, LLP
412 West Center Street, Suite 2000
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                                                   /s/
                                                 Amanda E. Ulrich




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